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FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                      July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-2090-AK
   Short Case Caption Koss Corp. v. Bose Corp.
   Filing Party/Entity Koss Corp.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/12/2022
  Date: _________________                    Signature:   /s/ Christopher M. Verdini

                                             Name:        Christopher M. Verdini
                Case: 22-2090     Document: 4      Page: 2       Filed: 08/12/2022



FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ✔ None/Not Applicable
                                  ☐                               ✔ None/Not Applicable
                                                                  ☐

           Koss Corp.




                                     Additional pages attached
                  Case: 22-2090             Document: 4             Page: 3        Filed: 08/12/2022



FORM 9. Certificate of Interest                                                                        Form 9 (p. 3)
                                                                                                          July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
           None/Not Applicable                                        Additional pages attached

         K&L Gates LLP                           Michelle Weaver                      Christopher M. Verdini

      Mark G. Knedeisen                           Laurén Murray

       Ragae M. Ghabrial                          Brian P. Bozzo


 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
           None/Not Applicable                                        Additional pages attached
  Koss Corp. v. PEAG LLC d/b/a JLab           Koss Corp. v. Bose Corp., Case No.
Audio, Case No. 3-21-cv-0117 (S.D. Cal.)           1-20-cv-12193 (D. Mass)


  Koss Corp. v. Plantronics Inc., et al.,
   Case No. 4-21-cv-03854 (N.D. Cal.)

   Koss Corp. v. Skullcandy, Inc.,
       2-21-cv-00203 (D. Utah)



 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔        None/Not Applicable                                        Additional pages attached
